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                           IN THE UNITED STATES DISTRICT COURT
                                                                                               5/8/2024
                          FOR THE WESTERN DISTRICT OF VIRGINIA                         %,,% !  ,,,,,,,,,,
                                    Charlottesville Division                           *, +, , (
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  BABY DOE, et al.,                             )
       Plaintiffs,                              )       Civil Action No. 3:22cv00049
                                                )
  v.                                            )       ORDER
                                                )
  JOSHUA MAST, et al.,                          )       By:     Joel C. Hoppe
       Defendants.                              )               United States Magistrate Judge


         This matter is before the Court on Defendant Joshua Mast and Stephanie Mast’s motion

  to compel Plaintiffs to respond to Interrogatories 13 and 14. ECF No. 356. Plaintiffs filed a brief

  in opposition, ECF No. 370, Joshua and Stephanie Mast filed a reply brief, ECF No. 377, and the

  Court held a hearing on May 2, 2024.

         Having considered the parties’ briefing and arguments and the applicable law, and for the

  reasons stated on the record, the Court finds that Plaintiffs’ response to Interrogatory 13 requires

  supplementation and Plaintiffs’ response to Interrogatory 14 is proper as written.

         Accordingly, the Court GRANTS IN PART AND DENIES IN PART the motion to

  compel. Within fourteen (14) days of entry of this Order, Plaintiffs shall provide a supplemental

  narrative response to Interrogatory 13.

         It is so ORDERED.

                                                        ENTERED: May 8, 2024



                                                        Joel C. Hoppe
                                                        United States Magistrate Judge




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